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                                                                                        FILED
                             EASTERN DISTRICT OF VIRGINIA                          IN OPEN COURT


                                       Alexandria Division
                                                                                OCT 1 8»
                                                                               CLniK. S, OijPiCl COURT
 UNITED STATES OF AMERICA                                                        AiLXAIiDKlA, VIRGINIA

                                                        Case No. l:18-CR-329
                V.

                                                        Counts 1-6: 18 U.S.C. §1341
 TUANDUC NGUYEN,                                        (Mail Fraud)

                Defendant.                              Counts 7-14: 18 U.S.C. § 1343
                                                        (Wire Fraud)

                                                        Forfeiture Notice



                                         INDICTMENT


                         October 2018 TERM - at Alexandria, Virginia

THE GRAND JURY CHARGES THAT:


                                  GENERAL ALLEGATIONS


       At all times relevant to this Indictment:



       1.     TUAN DUC NGUYEN("NGUYEN")was the founder, chairman, chief executive

officer, and purported to be the "Director of Law" of the Asian-American National Committee,

Inc. ("AANC"), a non-profit corporation organized under the laws of the Commonwealth of

Massachusetts. NGUYEN resided in Dorchester, Massachusetts, and Garden Grove, California.

      2.      NGUYEN held himself out as a lawyer and negotiated settlements with insurance

companies on behalf of automobile accident victims who retained him. After reaching a

settlement, insurance companies would send one or more checks to NGUYEN, made payable to

an accident victim and/or AANC, in settlement of a victim's claim. NGUYEN deposited
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settlement checks into AANC's Bank of America account ending in number 5807, which he

exclusively controlled.

                                THE SCHEME TO DEFRAUD


       3.     Beginning not later than in or around January 2013 and continuing through at least

in or around October 2016,in the Eastern District ofVirginia and elsewhere,NGUYEN knowingly

devised and intended to devise a scheme and artifice to defraud accident victims and insurance

companies and to obtain money from insurance companies that was intended for accident victims

by means of materially false and fraudulent pretenses, representations, and promises. As a result

ofthe fraud, NGUYEN obtained money to which he was not entitled.

       4. •   The purpose of the scheme and artifice to defraud was to induce accident victims

to retain NGUYEN to represent them by materially false and misleading statements and material

omissions, to obtain settlement payments from insurance companies that were intended for the

accident victims and that would not have been made to NGUYEN absent materially false

statements and material omissions, to ensure that the accident victims received no notice of the

payments made to NGUYEN, and to keep the settlement payments meant for the victims for

NGUYEN'S personal use.

       5.      As a further part of the scheme and artifice to defraud and in furtherance of it,

NGUYEN made, and knowingly caused others to make, materially false and fraudulent

representations and material omissions to accident victims, insurance companies, and others,

including those described below.

       6.      As part ofthe scheme to defraud, NGUYEN induced accident victims to allow him

to represent them by falsely holding himself out as an attorney and falsely representing that the
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victims would receive a share of the settlements that NGUYEN would obtain for them from

insurance companies,

       7.      As part ofthe scheme to defraud, NGUYEN used materially false and intentionally

misleading statements and material omissions to conceal from accident victims the fact that he had

settled claims on their behalf with insurance companies and received payments intended for the

victims. Specifically, NGUYEN caused victims' signatures to be forged on documents that

released claims against insurance companies as part of the settlement of their claims, and

NGUYEN himselfpurported to notarize those signatures and falsely attested that he had witnessed

the victims sign the releases. In addition, NGUYEN caused false and materially misleading

endorsements to be made on settlement checks intended for accident victims. NGUYEN then

caused those checks to be deposited into the AANC bank account, which is identified in paragraph

2 above and which NGUYEN exclusively controlled. NGUYEN never informed the accident

victims that he had entered into settlements and received payments on their behalf, despite

knowing that this was material information which he had a duty to disclose to the victims. To the

contrary, NGUYEN took affirmative steps to ensure that the victims would not learn that

NGUYEN had settled their claims and received payment on their behalf. This included making

false and misleading statements to accident victims who inquired about the status of their claims

and providing insurance companies with false addresses for the victims so that the victims would

not receive notice of settlements from the insurance companies.

       8.      As part of the scheme to defraud, NGUYEN provided false and materially

misleading information to insurance companies, including by falsely holding himself out as an

attorney, falsely stating that he was handling the claims "pro bono," falsely representing that he

intended to provide settlement payments to the accident victims, and by providing false addresses
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for the accident victims to the insurance companies. Each ofthese false and misleading statements

were material.


       9.        NGUYEN executed the above-described fraudulent scheme in regard to his

"representation" ofthe following accident victims, among others: A.B., M.T., A.B(2), J.N., C.C.,

P.C., L.N., T.L., K.P., L.S., D.N,and H.D. NGUYEN sent Letters of Representation and Demand

Letters to insurance companies on behalf of these accident victims. NGUYEN received checks

from insurance companies intended for these accident victims, deposited the checks in AANC's

Bank of America account ending in number 5807,and kept for himselfthese settlement proceeds.

NGUYEN sent Releases to the insurance companies that piuported to be signed by, but in fact

were not signed by, these accident victims. NGUYEN instead signed or had signed the Releases

and falsely represented that they had been signed by the accident victims. In at least some

instances, NGUYEN provided insurance companies with false addresses for these accident

victims.


       10.       As a result of his scheme and artifice to defraud, NGUYEN fraudulently obtained

money from insurance companies that was intended for Accident Victims A.B., M.T., A.B(2),

J.N., C.C., P.O., L.N., T.L., K.P., L.S., D.N, and H.D,in the amount of at least $134,269.00.
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                                             Counts 1-6

                                            (Mail Fraud)

THE GRAND JURY FURTHER CHARGES THAT:

         11.     The allegations set forth in paragraphs 1 through 10 ofthis Indictment are re-alleged

and incorporated as if set forth herein.

         12.     Beginning not later than in or around January 2013 and continuing through at least

in or around October 2016,in the Eastern District of Virginia and elsewhere,the defendant TUAN

DUC NGUYEN devised a scheme and artifice to defraud accident victims and insurance

companies and to obtain money and property from the insurance companies that was intended for

accident victims by means of materially false and fraudulent pretenses, representations, and

promises, specifically, the fraudulent scheme described in paragraphs three through ten above.

         13.     On or about the dates listed below, within the Eastern District of Virginia and

elsewhere, and for the purpose ofexecuting such scheme and artifice to defraud, the defendant did

knowingly place and cause to be placed in an authorized depository for mail matter,the mail matter

described below,to be sent and delivered by the United States Postal Service:

 COUNT         DATE        SENDER                    ADDRESSEE                 ITEM


     1         8/26/2014   National General          Accident Victim J.N.      Notice of
                           Insurance                 Falls Church, Virginia    Settlement Payment
                           Winston-Salem, North
                           Carolina


               8/30/2014   TUAN DUC                  Traveler's Property       Demand Letter for
                           NGUYEN                    Casualty                  Accident Victim
                           Garden Grove,             Chantilly, Virginia       A.B.
                           California



               10/9/2014   TUAN DUC                  Geico Insurance           Demand Letter for
                           NGUYEN                    Fredericksburg,           Accident Victims
                           Garden Grove,             Virginia                  D.N.andH.D.
                           California
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            11/14/2014    Geico General            Accident Victim D.N      Notice of
                          Insurance Company        Falls Church, Virginia   Settlement Payment
                          Fredericksburg,
                          Virginia

            11/14/2014    Geico General            Accident Victim H.D.     Notice of
                          Insurance Company        Falls Church, Virginia   Settlement Payment
                          Fredericksburg,
                          Virginia

            1/22/2015     Travelers                Accident Victim A.B.     Notice of
                          Chantilly, Virginia      Falls Church, Virginia   Settlement Payment


(All in violation of Title 18, United States Code, Section 1341.)
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                                          Counts 7-14

                                          (Wire Fraud)

THE GRAND JURY FURTHER CHARGES THAT:

       14.     The allegations set forth in paragraphs 1 through 13 ofthis Indictment are re-alleged

and incorporated as if set forth herein. Beginning not later than in or around January 2013 and

continuing through at least in or around October 2016, in the Eastern District of Virginia and

elsewhere,the defendant TUAN DUG NGUYEN devised a scheme and artifice to defraud accident

victims and insurance companies and to obtain money and property from the insurance companies

that was intended for accident victims by means of materially false and fraudulent pretenses,

representations, and promises, specifically, the fraudulent scheme described in paragraphs three

through ten above. At all relevant times, the defendant acted with the intent to defraud.

       15.     On or about the dates set forth in the table below, within the Eastern District of

Virginia and elsewhere, and for the purpose ofexecuting such scheme and artifice to defraud, the

defendant TUAN DUG NGUYEN did knowingly transmit and cause to be transmitted by means

of wire communications in interstate commerce certain writings, signs, signals, and sounds, as

described more particularly below:

 COUNT       DATE        SENDER                   RECIPIENT                  ITEM


             1/7/2014    TUAN DUG                 Traveler's Insurance       Faxed Letter of
                         NGUYEN                   Ghantilly, Virginia        Representation of
                          Dorchester,                                        Accident Victim
                          Massachusetts                                      A.B.


             2/10/2014   TUAN DUG                 Geico Insurance            Faxed Letter of
                         NGUYEN                   Fredericksburg,            Representation of
                          Dorchester,             Virginia                   Accident Victim
                          Massachusetts                                      T.L.
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            4/21/2014     TUAN DUC                Geico Insurance        Faxed Letter of
                          NGUYEN                  Fredericksburg,        Representation of
                          Dorchester,             Virginia               Accident Victims
                          Massachusetts                                  D.N.andH.D.


    10      10/23/2014    TUAN DUC                Traveler's Insurance   Faxed letter
                          NGUYEN                  Chantilly, Virginia    describing lost
                          Dorchester,                                    wages of Accident
                          Massachusetts                                  Victim A.B.


    11      11/30/2014    TUAN DUC                Geico Insurance        Faxed Releases for
                          NGUYEN                  Fredericksburg,        Accident Victims
                          Dorchester,             Virginia               D.NandH.D.
                          Massachusetts


    12      12/9/2014     TUAN DUC                Geico Insurance        Faxed Demand
                          NGUYEN                  Fredericksburg,        Letter for Accident
                          Dorchester,             Virginia               Victim T.L.
                          Massachusetts


    13      2/23/2015     TUAN DUC                Geico Insurance        Faxed Release for
                          NGUYEN                  Fredericksburg,        Accident Victim
                          Dorchester,             Virginia               T.L.
                          Massachusetts


    14      3/5/2015      TUAN DUC                Travelers              Faxed Release for
                          NGUYEN                  Chantilly, Virginia    Accident Victim
                          Dorchester,                                    A.B.
                          Massachusetts



(All in violation of Title 18, United States Code, Section 1343.)
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                                   FORFEITURE NOTICE


       THE GRAND JURY FURTHER FINDS PROBABLE CAUSE THAT THE PROPERTY           f




DESCRIBED BELOW IS SUBJECT TO FORFEITURE:

       16.     Pursuantto Federal Rule ofCriminal Procedure 32.2(a),the defendantTUAN DUC

NGUYEN is hereby notified that,ifconvicted ofan offense alleged in Counts 1 through 14 ofthis
Indictment,the defendant shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C)
and 28 U.S.C.§ 2461(c),his interest in any property, real or personal,constituting or derived from
proceeds obtained directly or indirectly as a result ofthe Counts ofconviction. Ifproperty subject
to.forfeiture cannot be located, the United States will seek an order forfeiting substitute property,
including but not limited to the following: A sum ofmoney equal to at least $134,269.00in United
States currency,representing the amount ofproceeds obtained as a result ofthe offenses.
(In accordance with Title.18, United States Code, Section 981(a)(1)(C); Title 28, United States
Code,Section 2461(c); and Rule 32.2(a), Federal Rules of Criminal Procedure.)
                                                  A TRUE BILL

                                                          Pursuant to the E-GovemmentAct,^
                                                         the origifiai ofihis page has been filed
                                                            under seal .r.e Clerk's OOice.

                                                   FOREPERSON


        G.Zachary Terwilliger
        United States Attorney



 By:
        Matthew
        Christopher Cook^
        Andrew Dober
         Special Assistant United States Attorneys
         Kellen S. Dwyer
         Assistant United States Attorney
